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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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CONNIE RODRIGUEZ, on behalf of herself
and others similarly situated,                               CASE NO.: 17 CV 05070 (WHP)
                      Plaintiff,

        v.

MANHATTAN RIVER GROUP, LLC,
JERALD TENENBAUM, JOSH ROSEN,
and ANDREW WALTERS,

                       Defendants.
--------------------------------------------------------x

              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

        Plaintiff hereby gives notice that pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and through

her undersigned counsel she is dismissing this action without prejudice.

Dated: New York, New York
       August 14, 2017                                      /s/ Denise A. Schulman
                                                            D. Maimon Kirschenbaum
                                                            Denise A. Schulman
                                                            JOSEPH & KIRSCHENBAUM LLP
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